Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 1 of 32 Pageid#:
                                   3502
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 2 of 32 Pageid#:
                                   3503
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 3 of 32 Pageid#:
                                   3504
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 4 of 32 Pageid#:
                                   3505
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 5 of 32 Pageid#:
                                   3506
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 6 of 32 Pageid#:
                                   3507
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 7 of 32 Pageid#:
                                   3508
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 8 of 32 Pageid#:
                                   3509
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 9 of 32 Pageid#:
                                   3510
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 10 of 32 Pageid#:
                                    3511
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 11 of 32 Pageid#:
                                    3512
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 12 of 32 Pageid#:
                                    3513
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 13 of 32 Pageid#:
                                    3514
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 14 of 32 Pageid#:
                                    3515
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 15 of 32 Pageid#:
                                    3516
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 16 of 32 Pageid#:
                                    3517
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 17 of 32 Pageid#:
                                    3518
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 18 of 32 Pageid#:
                                    3519
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 19 of 32 Pageid#:
                                    3520
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 20 of 32 Pageid#:
                                    3521
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 21 of 32 Pageid#:
                                    3522
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 22 of 32 Pageid#:
                                    3523
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 23 of 32 Pageid#:
                                    3524
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 24 of 32 Pageid#:
                                    3525
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 25 of 32 Pageid#:
                                    3526
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 26 of 32 Pageid#:
                                    3527
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 27 of 32 Pageid#:
                                    3528
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 28 of 32 Pageid#:
                                    3529
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 29 of 32 Pageid#:
                                    3530
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 30 of 32 Pageid#:
                                    3531
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 31 of 32 Pageid#:
                                    3532
Case 3:17-cv-00072-NKM-JCH Document 369-2 Filed 10/26/18 Page 32 of 32 Pageid#:
                                    3533
